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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                CASE NO.: 0:21-cv-60503-RKA

   EDUARDO GARCIA,

              PLAINTIFF,

   V.

   HEALTHCARE REVENUE
   RECOVERY GROUP, LLC.,

            DEFENDANTS.
   _____________________________________/


                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         COMES NOW, Plaintiff, Eduardo Garcia, and Defendant, Healthcare Revenue

  Recovery Group, LLC. (collectively the “Parties”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by

  and through their undersigned counsel, and would represent to the Court that this action has been

  resolved and would request entry of an Order dismissing this matter with Prejudice, each party to

  bear their own costs and attorneys’ fees.

         Dated this 11th day of August 2021.

   /s/Jibrael S. Hindi                          /s/ Ernest H. Kohlmyer, III
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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on August

  11, 2021, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing has been

  sent via electronic transmission to the following: Jibrael S. Hindi, Esquire                 at

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  paul@consumeradvocatelaw.com;            Joel       A.         Brown,         Esquire        at

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                                                    /s/ Ernest H. Kohlmyer, III
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